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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                          Civil No. 1:22-cv-02791-ACR

 ASSA ABLOY AB, et al.,

                Defendants.


                                  JOINT STATUS REPORT

       The parties respectfully submit the following status report pursuant to the Court’s Minute

Order dated March 8, 2023. The parties are currently complying with deadlines set forth in the

Pre-Trial Schedule entered by the Court on February 24, 2023 (ECF No. 91). While the parties

may ultimately have pretrial disputes regarding motions in limine and experts, there are no ripe

disputes for the Court to address at this time, and the parties expect to substantially narrow any

disputes regarding exhibits and deposition designations at the meet and confers scheduled to begin

on March 15, 2023.

       Judge Jackson set forth various procedures for the submission of expert reports, deposition

designations, exhibits, and post-trial briefing in a Supplement to the Case Management Order

(“Order”) (ECF No. 51). The parties welcome any further guidance from the Court regarding these

submissions. Additionally, while the Order requires using black and red boxes around certain

categories of designated testimony, using brackets, as illustrated in the attached mock-up of

hypothetical designated testimony, would reduce the burden on the parties because of software

limitations, if such an approach is acceptable to the Court. See Exhibit A.




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Dated: March 13, 2023

Respectfully submitted,

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